

U.S. Bank Natl. Assn. v Reyes (2019 NY Slip Op 05470)





U.S. Bank Natl. Assn. v Reyes


2019 NY Slip Op 05470


Decided on July 9, 2019


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on July 9, 2019

Renwick, J.P., Gische, Kapnick, Singh, JJ.


9808 380832/11

[*1]U.S. Bank National Association, Plaintiff-Respondent,
vDario Reyes, Defendant-Appellant, New York City Department of Housing Preservation and Development, et al., Defendants.


David A. Blythewood, Mineola, for appellant.



Appeal from order, Supreme Court, Bronx County (Ben R. Barbato, J.), entered on or about July 21, 2017, which denied defendant Reyes's motion to vacate a judgment of foreclosure and sale entered January 25, 2017, unanimously dismissed, without costs, as moot.
After defendant's motion to vacate was denied, plaintiff moved to discontinue the action, vacate the notice of pendency, and vacate the judgment of foreclosure and sale in its entirety, and the motion was granted by order, same court (Doris Gonzalez, J.), entered February 6, 2019, of which we take judicial notice (see Matter of Travelers Prop. Cas. Co. of Am. v Archibald, 124
AD3d 480, 481 [1st Dept 2015]). Accordingly, this appeal is moot (see Reyes v Sequeira, 64 AD3d 500, 505 [1st Dept 2009], citing Matter of Hearst Corp. v Clyne, 50 NY2d 707, 714 [1980]).
THIS CONSTITUTES THE DECISION AND ORDER
OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: JULY 9, 2019
CLERK








